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                                        February 22, 2019

Via Email strawbridge_chambers@paed.uscourts.gov
United States District Court
Eastern District of Pennsylvania
Honorable David R. Strawbridge
601 Market Street
Room 3-H
Philadelphia, PA 19106

                       RE:    Patricia McNulty v. The Middle East Forum, et al.
                              No. 2:19-cv-05029


Dear Judge Strawbridge:

I write on behalf of Plaintiff, Patricia McNulty to notify the Court regarding Plaintiff’s updated
Written Responses to Defendants’ First Request for Production of Documents. Please allow this
correspondence to certify that Plaintiff, Patricia McNulty has provided Defendants with updated,
amended Written Responses to Defendants’ First Request for Production of Documents. These
amended Responses are Plaintiff’s attempt to cure any and all deficiencies Defendants raised to
the Court in their February 5, 2021 correspondence.

As of February 22, 2021, Plaintiff has served upon Defendants, these updated, amended Written
Responses to Defendants Request for Production of Documents.

Plaintiff also contacted Defendants in an effort to set up a meet and confer session on February 22,
2021. On February 22, 2021, Plaintiff’s counsel sent two emails to Defendants requesting a meet
and confer to discuss the outstanding discovery issues that were first raised by Defendants in
Defendants’ February 5, 2021 correspondence. While it has only been one (1) day, Defendants
have not yet responded to Plaintiff’s attempts to schedule a meet and confer.

Respectfully submitted on behalf of Plaintiff, Patricia McNulty.

                                                   Very Truly Yours,
                                                   DEREK SMITH LAW GROUP, PLLC
                                                 BY:___/s/ Seth D. Carson________
                                                      Seth D. Carson, Esquire


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